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                   IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAII

 UNITED STATES OF AMERICA,     )          CR. NO. 99-00107 SOM
                               )
           Plaintiff,          )          ORDER DENYING DEFENDANT
                               )          CHRISTOPHER JOSE CISNEROS’
                               )          RENEWED MOTION FOR
                               )          COMPASSIONATE RELEASE
      vs.                      )
                               )
 CHRISTOPHER JOSE CISNEROS,    )
                               )
           Defendant.          )
                               )
 _____________________________ )

                        ORDER DENYING DEFENDANT
      CHRISTOPHER JOSE CISNEROS’ RENEWED MOTION FOR COMPASSIONATE
                                 RELEASE

 I.          INTRODUCTION.

             In 1999, Defendant Christopher Jose Cisneros was

 sentenced to life in prison for having possessed 50 grams or more

 of methamphetamine with intent to distribute, in violation of 21

 U.S.C. §§ 841(a)(1) and 841(b)(1)(A).        At the time, a life

 sentence was mandatory because of his two prior convictions.             In

 2018, however, Congress amended 21 U.S.C. § 841 as part of the

 First Step Act.    Under today’s law, Cisneros would face a

 mandatory minimum sentence of 15 years for his drug offense (in

 addition to his 20-year sentence for a separate offense).

             In May 2020, Cisneros moved for compassionate release

 under 18 U.S.C. § 3582(c)(1)(A).       Cisneros argued that the

 disparity between the life sentence that he received in 1999 and

 the sentence that he would have received today under the First
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 Step Act was an extraordinary and compelling circumstance that

 justified his early release.       After considering Cisneros’ failure

 to present compelling evidence of his rehabilitation and the

 absence of a significant disparity between the 20-year sentence

 Cisneros would have received even under today’s law and the 21

 years that he had served, this court ruled that, based on the

 record before it, early release was not warranted.          ECF No. 102,

 PageID # 342-46.     Recognizing that the change in the law was

 among circumstances that this court could consider, the court

 noted that Cisneros could bring a new motion when he could

 provide more persuasive evidence of rehabilitation.

             Cisneros has now renewed his request for compassionate

 release.    In his renewed request, he contends that he should be

 released because newly identified conditions, such as his

 obesity, make him vulnerable to complications if he contracts

 COVID-19.   After considering Cisneros’ medical condition, the

 disparity between the time he has already served and the sentence

 that he would have received today under the First Step Act, and

 his history, this court again, but with considerable reluctance,

 concludes that Cisneros has not demonstrated that extraordinary

 and compelling circumstances warrant a reduction in his sentence.

 In issuing this denial, the court notes that, as recently as

 October 2020, Cisneros faced prison discipline for having

 participated in a physical altercation.        While the court does not


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 think Cisneros needs to have decades of clean behavior in prison

 to persuade this court, recent discipline involving violence

 gives this court considerable pause.

 II.        ANALYSIS.

            Cisneros’ compassionate release request is governed by

 18 U.S.C. § 3582(c)(1)(A), which provides:

            [T]he court . . . upon motion of the
            defendant after the defendant has fully
            exhausted all administrative rights to appeal
            a failure of the Bureau of Prisons to bring a
            motion on the defendant’s behalf or the lapse
            of 30 days from the receipt of such a request
            by the warden of the defendant’s facility,
            whichever is earlier, may reduce the term of
            imprisonment (and may impose a term of
            probation or supervised release with or
            without conditions that does not exceed the
            unserved portion of the original term of
            imprisonment), after considering the factors
            set forth in section 3553(a) to the extent
            that they are applicable, if it finds that--

            (i) extraordinary and compelling reasons
            warrant such a reduction . . . .

            and that such a reduction is consistent with
            applicable policy statements issued by the
            Sentencing Commission.

 In other words, for the court to exercise its authority under

 § 3582(c)(1)(A), it must (1) find that the defendant exhausted

 his administrative remedies or that 30 days have passed since he

 filed an administrative compassionate relief request; (2) also

 find, after considering the factors set forth in section 3553(a),

 that extraordinary and compelling reasons warrant a sentence

 reduction; and (3) find that such a reduction is consistent with

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 the Sentencing Commission’s policy statements.          United States v.

 Scher, 2020 WL 3086234, at *2 (D. Haw. June 10, 2020).

            A.    Cisneros has Satisfied the Time-Lapse Requirement
                  of 18 U.S.C. § 3582(c)(1)(A).

            Cisneros argues that, because he submitted an

 administrative compassionate release request to the warden of his

 prison more than 30 days before filing his initial compassionate

 release motion, see ECF No. 96, PageID # 264, he has satisfied

 the time-lapse requirement of § 3582(c)(1)(A).          ECF No. 102,

 PageID # 348.    The Government agrees that “the Court may consider

 the Defendant’s exhaustion requirement satisfied for the purpose

 of deciding” this motion.      ECF No. 106, PageID # 393.        Based on

 the Government’s concession, this court finds that Cisneros has

 satisfied the first requirement of § 3582(c)(1)(A).

            B.    This Court Has Discretion in Determining Whether
                  Extraordinary and Compelling Reasons Justify a
                  Reduced Sentence.

            This court turns to § 3582(c)(1)(A)’s second

 requirement: whether extraordinary and compelling reasons warrant

 a sentence reduction.     In orders addressing compassionate release

 motions in other cases, this court has expressly recognized that

 it possesses considerable discretion in determining whether a

 particular defendant has established the existence of

 extraordinary and compelling reasons that justify early release.

 This court has also stated that, in reading § 3582(c)(1)(A) as



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 providing for considerable judicial discretion, the court is well

 aware of the absence of an amended policy statement from the

 Sentencing Commission reflecting the discretion given to courts

 when Congress amended the statute to allow inmates themselves to

 file compassionate release motions.        United States v. Mau, 2020

 WL 6153581 (D. Haw. Oct. 20, 2020); United States v. Scher, 2020

 WL 3086234, at *2 (D. Haw. June 10, 2020); United States v.

 Cisneros, 2020 WL 3065103, at *2 (D. Haw. Jun. 9, 2020); United

 States v. Kamaka, 2020 WL 2820139, at *3 (D. Haw. May 29, 2020).

 Specifically, this court has recognized that an Application Note

 to a relevant sentencing guideline is outdated.          This court

 continues to view its discretion as not limited by Sentencing

 Commission pronouncements that are now at odds with the

 congressional intent behind recent statutory amendments.            Mau,

 2020 WL 6153581; see also United States v. Brooker, 976 F.3d 228,

 235-36 (2d Cir. 2020) (“[W]e read the Guideline as surviving, but

 now applying only to those motions that the BOP has made.”); cf.

 United States v. Ruffin, 978 F.3d 1000, 1007-08 (6th Cir. Oct.

 26, 2020) (noting that some courts have held that the Application

 Note is not “applicable,” but not deciding the issue).

            C.    Cisneros Has Not demonstrated that Extraordinary
                  and Compelling Circumstances Justify his Early
                  Release at This Time.

            For the second time, Cisneros argues that extraordinary

 and compelling circumstances justify his early release.            In his

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 first motion, Cisneros contended that early release was warranted

 because of the disparity between his life sentence and the

 sentence he would have received today under the First Step Act.

 This court disagreed.     Three facts were particularly relevant:

 (1) there was not a significant disparity between the amount of

 time Cisneros had spent in prison and the sentence he would have

 received today because, even under the First Step Act, Cisneros

 would have received a sentence of 20 years in prison, ECF No.

 102, PageID # 342-43;1 (2) Cisneros had “not established that the

 coronavirus [was] particularly dangerous to him,” id. at 342, and

 (3) Cisneros had failed to present compelling evidence of his

 rehabilitation.    Id.

            After weighing those facts, this court concluded that

 Cisneros had failed to show that extraordinary and compelling

 circumstances warranted a reduction in his sentence.             Id. at 344-

 45.   However, this court also recognized that “[a]s time passes,

 the disparity between the sentence Cisneros has already served

 and the sentence he could receive under the First Step Act will

 increase” and that “if his behavior in prison improves, Cisneros




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         Cisneros contends that, but for the mandatory life
 sentence imposed on the drug count, this court would not have
 imposed 20 years for the separate offense of illegal re-entry
 after deportation. ECF No. 111, PageID # 489. Cisneros is
 engaging in speculation, and he concedes that what sentence he
 might receive under today’s laws “is not really the point.” Id.

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 may be able to show that he has been rehabilitated.”             Id. at 343.

 This court therefore noted that Cisneros could apply for

 compassionate release again in the future.         Id. at 344.

            Cisneros has now done just that.        In his renewed

 motion, he does not argue that, in the six months that have

 passed since this court denied his first motion, the disparity

 between the sentence he has already served and the sentence he

 would have received under the First Step Act has increased

 dramatically.    Nor, as discussed in detail below, has he

 presented new evidence of his rehabilitation.         Instead, the only

 new argument that he makes is that certain underlying medical

 conditions that he did not identify in his first motion make him

 more susceptible to complications if he contracts COVID-19.

 Those conditions, standing alone, do not change this court’s

 conclusion.

            In his renewed motion, Cisneros contends that three

 conditions increase his risk of a severe illness if he contracts

 COVID-19: obesity, Hepatitis C, and his race (Hispanic).             ECF No.

 103, PageID # 350-51.     Based on the present record, it does

 appear that Cisneros is obese, because his BMI is 34.7.2            ECF No.


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         In his reply, Cisneros asserted that he weighed 275
 pounds in 2019, and that his sister reported that he was 270
 pounds. Cisneros did not, however, provide any basis for his
 sister’s conclusion or state when she learned that fact. ECF No.
 111, PageID # 490-91. After this court requested more
 information, Cisneros explained that his “sister confirmed his
 weight over the Christmas holiday via email,” and that Cisneros

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 116, PageID # 625.     Under the CDC’s guidance, Cisneros’ obesity

 increases his risk of a serious illness if he contracts COVID-19.

 https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/

 people-with-medical-conditions.html?CDC_AA_refVal=https%3A%2F%2Fw

 ww.cdc.gov%2Fcoronavirus%2F2019-ncov%2Fneed-extra-precautions%2Fg

 roups-at-higher-risk.html (last visited January 11, 2021).

            Cisneros has provided less support for his claims that

 his Hepatitis C and his race increase the threat that the

 coronavirus poses to him.      There appears to be no dispute that

 Cisneros’ Hepatitis C has been treated.        Earlier this year,

 Cisneros received Mavyret, a drug that is supposed to cure

 Hepatitis C.    After he completed his treatment, he had an

 “undetectable viral load.”      ECF No. 109, PageID # 414-16.        In an

 earlier order, this court noted that there do not appear to be

 any scientific studies that show that COVID-19 is more dangerous

 to individuals who have Hepatitis C but are asymptomatic.            Mau,

 2020 WL 6153581, at *5.      Cisneros certainly has not cited any

 evidence showing that individuals whose Hepatitis C has been

 treated still may be at risk from the coronavirus.

            As to his race, Cisneros contends that because he is

 Hispanic, that “increases his risk of contracting and suffering



 himself reported that he was “270 pounds and that he remains 6
 feet, 2 inches tall.” ECF No. 116, PageID # 625. However,
 Cisneros did not, as this court directed, explain how he reached
 that conclusion.

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 complications from Covid-19.”       ECF No. 103, PageID # 350.       In

 response, the Government maintains that while “[t]here are

 inequalities relating to socioeconomic status that puts some

 individuals (such as Hispanics) at higher risk of contracting

 COVID-19,” there isn’t anything “specific to Hispanic persons

 that makes them more vulnerable to the disease just because of

 their ethnicity.”     ECF No. 106, PageID # 398.      A New York Times

 article published shortly before Cisneros filed his renewed

 motion explains that “new studies [] suggest that there is no

 innate vulnerability to the virus among Black and Hispanic

 Americans.”    Gina Kolata, Social Inequities Explain Racial Gaps

 in Pandemic, Studies Find, N.Y. Times, Dec. 9, 2020,

 https://www.nytimes.com/2020/12/09/health/coronavirus-black-hispa

 nic.html. “Instead, these groups are more often exposed because

 of social and environmental factors.”        Id.

            In any event, based on the assertions in his renewed

 motion, Cisneros does face heightened risks from COVID-19.

 Because he is obese, he is more likely to suffer serious

 complications if he contracts COVID-19, even if his age (50) does

 not place him in the highest risk group.         Moreover, COVID-19 is

 present at Canaan USP, where Cisneros is housed.3          Thus, both the

 fact that he has already served a longer sentence than he would


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         Canaan USP, where Cisneros is housed, reports that 15
 inmates and 3 staff members are currently infected with COVID-19.
 www.bop.gov/coronavirus (last visited January 12, 2021).

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 have received today under the First Step Act and his

 susceptibility to the coronavirus provide some support for his

 compassionate release request.

             But, under § 3582(c)(1)(A), only extraordinary and

 compelling reasons justify a reduction in sentence.           Before

 determining that extraordinary and compelling reasons exist,

 courts must consider the factors set forth in 18 U.S.C. § 3553.

 Under Section 3553, one of the relevant considerations is

 evidence of a defendant’s rehabilitation.         See 18 U.S.C.

 § 3553(a)(1)-(2).     In its first order, this court noted that,

 given Cisneros’s extensive record of discipline for misconduct

 during his incarceration, he had not demonstrated that he had

 been rehabilitated.      ECF No. 102, PageID # 342.      This court also

 warned Cisneros that, in any future compassionate release motion,

 his disciplinary record would be an important consideration.             Id.

 at 344-45.

             Shortly after that warning, Cisneros was again

 disciplined, this time for fighting.        Although Cisneros argues

 that he acted to defend another inmate, the only evidence in the

 record is Canaan USP’s incident report.         That report cites video

 evidence showing that Cisneros became involved in a fight, and

 that, during the altercation, he “actively exchang[ed] closed

 fist punches” with other inmates.         ECF No. 111-6, PageID # 516.

 In light of this new misconduct, it is even more difficult to


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 conclude that Cisneros has been rehabilitated.4

             This court now weighs Cisneros's medical situation in

 the midst of a pandemic, his behavior while incarcerated, and the

 time he has already served and determine whether those factors

 justify compassionate release.       As in its prior order, this court

 concludes that the considerations raised by Cisneros, while

 important, are not outweighed by the absence of evidence of

 Cinseros’ rehabilitation and therefore do not rise to the level

 of extraordinary and compelling circumstances that justify a

 reduction in his sentence at this time.5         Again, with the passage


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         The absence of compelling evidence of rehabilitation
 distinguishes this case from the Fourth Circuit’s decision in
 United States v. McCoy, 981 F.3d 271 (4th Cir. 2020). Each of
 the defendants in that case presented such evidence. Id. at 278
 (“Finally, the district court cited McCoy’s rehabilitation.”);
 id. at 279 (“They also relied on their exemplary prison records
 and other evidence of rehabilitation.”); id. at 288 (“The courts
 took seriously the requirement that they conduct individualized
 inquiries, basing relief not only on the First Step Act’s change
 to sentencing law under § 924(c) but also on such factors as . .
 . . their post-sentencing conduct and rehabilitation. . . .”).
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         Cisneros also maintains that even if this court does not
 order his immediate release, it should “reduc[e] his life
 sentence to, say, 23 years.” ECF No. 103, PageID # 357. But,
 because “the timing of [Cisneros’] present motion is driven by
 the threat of contracting COVID-19, it makes little sense for the
 court to order release at a date years in the future, when
 COVID-19 will presumably not be an issue.” United States v.
 Lavatai, 2020 WL 4275258, at *5 (D. Haw. July 24, 2020). If
 Cisneros wishes to bring another motion for compassionate
 release, he may do so, and this court will evaluate the evidence
 related to his circumstances and his rehabilitation at that time.
 This court assures Cisneros that, even without a pandemic, the
 court intends to give serious weight to any circumstances he may
 raise in a future motion, particularly but not exclusively the
 length of time he has served and the statutory changes. Cisneros

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 of time, those considerations may change.          But, based on the

 present record, Cisneros has not shown that extraordinary and

 compelling circumstances justify his early release.6

 III.        CONCLUSION.

             Cisneros’ renewed request for compassionate release

 under 18 U.S.C. § 3582(c)(1)(A) is denied.

             It is so ordered.

             DATED: Honolulu, Hawaii, January 12, 2021.



                                     /s/ Susan Oki Mollway
                                     Susan Oki Mollway
                                     United States District Judge



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 has presented serious support for his request for relief, but he
 has undermined that support with his recent disciplinary issue.
        6
         Cisneros also contends that his continued incarceration
 violates the Eighth Amendment. ECF No. 103, PageID # 357 (citing
 Helling v. McKinney, 509 U.S. 25 (1993)). However, Cisneros does
 not even discuss the standard applied in the single case he
 cites: “deliberate indifference to serious medical needs of
 prisoners violates the [Eighth] Amendment because it constitutes
 the unnecessary and wanton infliction of pain contrary to
 contemporary standards of decency.” Helling, 509 U.S. at 32
 (quotation marks omitted). Cisneros does not establish
 deliberate indifference.

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